            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 1 of 32




                                                     THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   UNITED STATES OF AMERICA,                              CASE NO. CR19-0072-JCC
10                            Plaintiff,                    JURY INSTRUCTIONS
11         v.

12   JEAN MPOULI,

13                            Defendant.
14

15

16         The Clerk shall provide copies of this order to all counsel.
17

18         DATED this 22nd day of September 2021.




                                                         A
19

20

21
                                                         John C. Coughenour
22                                                       UNITED STATES DISTRICT JUDGE
23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 1
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 2 of 32




                              PRELIMINARY INSTRUCTION NO. 1
 1
                       THE CHARGE – PRESUMPTION OF INNOCENCE
 2

 3
            This is a criminal case brought by the United States government. The Government
 4
     charges the defendant with Aiding and Assisting in the Preparation and Presentation of a
 5
     False and Fraudulent Return. The charges against the defendant are contained in the
 6
     indictment. The indictment simply describes the charges the Government brings against
 7   the defendant. The indictment is not evidence and does not prove anything.
 8          The defendant has pleaded not guilty to the charges and is presumed innocent
 9   unless and until the Government proves the defendant guilty beyond a reasonable doubt.
10   In addition, the defendant has the right to remain silent and never has to prove innocence
11   or to present any evidence.
12          In order to help you follow the evidence, I will now give you a brief summary of

13   the elements of the crime which the Government must prove to make its case:

14          In order for the defendant to be found guilty of Counts 1, 2, 4 through 7, 9 through
     12, and 14 through 17, of the offense of Aiding and Assisting in the Preparation and
15
     Presentation of a False and Fraudulent Return, the Government must prove each of the
16
     following elements beyond a reasonable doubt:
17
            First, the defendant aided, assisted, advised, procured, or counseled in the
18
     preparation or presentation of an income tax return that was false or fraudulent;
19
            Second, the income tax return was false or fraudulent as to any material matter
20
     necessary to a determination of whether income tax was owed;
21
            Third, the defendant acted willfully; and
22          Fourth, the tax return was filed with the Internal Revenue Service.
23          The Government is not required to prove that the taxpayer knew that the return
24   was false.
25          A matter is material if it had a natural tendency to influence, or was capable of
26   influencing, the decisions or activities of the Internal Revenue Service.


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 2
               Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 3 of 32




 1

 2            For your convenience, the following chart sets forth the date of the alleged

 3   offenses in addition to the taxpayer, tax year, and alleged falsely claimed items associated

 4   with each count. You may refer to this chart during your deliberations:

 5
        CT.     DATE OF       TAXPAYER        TAX           FALSELY CLAIMED ITEMS
 6              OFFENSE                       YEAR
 7       1      02/14/2013        H.M.        2012     Education Credits (Form 8863)
 8       2      02/19/2013        G.K.        2012     Education Credits (Form 8863)
 9       4      02/11/2014        H.M.        2013     Education Credits (Form 8863)

10       5      04/07/2014         A.I.       2013     Education Credits (Form 8863)
         6      02/14/2015         A.I.       2014     Education Credits (Form 8863)
11
         7      04/05/2015        A.B.        2014     Unreimbursed business expenses (Form
12                                                     2106)
13       9      02/07/2016         A.I.       2015     Unreimbursed business expenses (Form
                                                       2106)
14
        10      02/15/2016        A.A.        2015     Unreimbursed business expenses (Form
15                                                     2106)
16      11      02/15/2016        H.M.        2015     Unreimbursed business expenses (Form
                                                       2106)
17
        12      04/06/2016        Z.M.        2015     Unreimbursed business expenses (Form
18                                                     2106)
19      14      02/18/2017         A.I.       2016     Unreimbursed business expenses (Form
20                                                     2106)
        15      02/20/2017        A.A.        2016     Unreimbursed business expenses (Form
21
                                                       2106)
22      16      02/20/2017    Z.M. & P.K.     2016     Unreimbursed business expenses (Form
23                                                     2106)
        17      03/05/2017        A.G.        2016     Unreimbursed business expenses (Form
24
                                                       2106)
25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 3
                Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 4 of 32




            Counts 3, 8, 13, 18, and 19 were dismissed by the Government before trial. The
 1
     fact that these counts were dismissed should not factor into your deliberations in any
 2
     fashion.
 3

 4

 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 4
              Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 5 of 32




                                    FINAL INSTRUCTION NO. 1
 1
                    DUTIES OF JURY TO FIND FACTS AND FOLLOW LAW
 2

 3
            Members of the jury, now that you have heard all the evidence, it is my duty to
 4
     instruct you on the law that applies to this case. A copy of these instructions will be
 5
     available in the jury room for you to consult.
 6
            It is your duty to weigh and to evaluate all the evidence received in the case and,
 7   in that process, to decide the facts. It is also your duty to apply the law as I give it to you
 8   to the facts as you find them, whether you agree with the law or not. You must decide the
 9   case solely on the evidence and the law. Do not allow personal likes or dislikes,
10   sympathy, prejudice, fear, or public opinion to influence you. You should also not be
11   influenced by any person’s race, color, religion, national ancestry, gender, sexual
12   orientation, profession, occupation, celebrity, economic circumstances, or position in life

13   or in the community. You will recall that you took an oath promising to do so at the

14   beginning of the case.
            You must follow all these instructions and not single out some and ignore others;
15
     they are all important. Please do not read into these instructions or into anything I may
16
     have said or done any suggestion as to what verdict you should return—that is a matter
17
     entirely up to you.
18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 5
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 6 of 32




                                  FINAL INSTRUCTION NO. 2
 1
                    CHARGE AGAINST DEFENDANT NOT EVIDENCE –
 2
                   PRESUMPTION OF INNOCENCE – BURDEN OF PROOF
 3

 4
           The indictment is not evidence. The defendant has pleaded not guilty to the
 5
     charges. The defendant is presumed to be innocent unless and until the Government
 6
     proves the defendant guilty beyond a reasonable doubt. In addition, the defendant does
 7   not have to testify or present any evidence. The defendant does not have to prove
 8   innocence; the Government has the burden of proving every element of the charges
 9   beyond a reasonable doubt.
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 6
              Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 7 of 32




                            PROPOSED FINAL INSTRUCTION NO. 3
 1
                         DEFENDANT’S DECISION NOT TO TESTIFY
 2

 3
            A defendant in a criminal case has a constitutional right not to testify. In arriving
 4
     at your verdict, the law prohibits you from considering in any manner that the defendant
 5
     did not testify.
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 7
               Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 8 of 32




                                     FINAL INSTRUCTION NO. 4
 1
                                        REASONABLE DOUBT
 2

 3
              Proof beyond a reasonable doubt is proof that leaves you firmly convinced the
 4
     defendant is guilty. It is not required that the Government prove guilt beyond all possible
 5
     doubt.
 6
              A reasonable doubt is a doubt based upon reason and common sense and is not
 7   based purely on speculation. It may arise from a careful and impartial consideration of all
 8   the evidence, or from lack of evidence.
 9            If after a careful and impartial consideration of all the evidence, you are not
10   convinced beyond a reasonable doubt that the defendant is guilty, it is your duty to find
11   the defendant not guilty. On the other hand, if after a careful and impartial consideration
12   of all the evidence, you are convinced beyond a reasonable doubt that the defendant is

13   guilty, it is your duty to find the defendant guilty.

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 8
            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 9 of 32




                                 FINAL INSTRUCTION NO. 5
 1
                                     WHAT IS EVIDENCE
 2

 3
           The evidence you are to consider in deciding what the facts are consists of:
 4
           (1)    the sworn testimony of any witness; and
 5
           (2)    the exhibits received in evidence ; and
 6
           (3)    any facts to which the parties have agreed.
 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 9
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 10 of 32




                                   FINAL INSTRUCTION NO. 6
 1
            TESTIMONY OF WITNESS INVOLVING SPECIAL CIRCUMSTANCE
 2

 3

 4          You have heard testimony from civilian taxpayer witnesses, who may have
 5   received benefits and/or favored treatment from the Government in connection with this
 6   case. For these reasons, in evaluating the testimony of these witnesses, you should
 7   consider the extent to which or whether his or her testimony may have been influenced

 8   by these factors. In addition, you should examine the testimony of these witnesses with

 9   greater caution than that of other witnesses.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 10
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 11 of 32




                                   FINAL INSTRUCTION NO. 7
 1
                                    WHAT IS NOT EVIDENCE
 2

 3
            In reaching your verdict you may consider only the testimony and exhibits
 4
     received in evidence. The following things are not evidence and you may not consider
 5
     them in deciding what the facts are:
 6
            1.     Questions, statements, objections, and arguments by the lawyers are not
 7   evidence. The lawyers are not witnesses. Although you must consider a lawyer's
 8   questions to understand the answers of a witness, the lawyer's questions are not evidence.
 9   Similarly, what the lawyers have said in their opening statements, will say in their closing
10   arguments and at other times is intended to help you interpret the evidence, but it is not
11   evidence. If the facts as you remember them differ from the way the lawyers state them,
12   your memory of them controls.

13          2.     Any testimony that I have excluded, stricken, or instructed you to disregard

14   is not evidence. In addition, some evidence was received only for a limited purpose;
     when I have instructed you to consider certain evidence in a limited way, you must do so.
15
            3.     Anything you may have seen or heard when the court was not in session is
16
     not evidence. You are to decide the case solely on the evidence received at the trial.
17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 11
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 12 of 32




                                   FINAL INSTRUCTION NO. 8
 1
                         DIRECT AND CIRCUMSTANTIAL EVIDENCE
 2

 3
            Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
 4
     such as testimony by a witness about what that witness personally saw or heard or did.
 5
     Circumstantial evidence is indirect evidence, that is, it is proof of one or more facts from
 6
     which you can find another fact.
 7          You are to consider both direct and circumstantial evidence. Either can be used to
 8   prove any fact. The law makes no distinction between the weight to be given to either
 9   direct or circumstantial evidence. It is for you to decide how much weight to give to any
10   evidence.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 12
              Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 13 of 32




                                     FINAL INSTRUCTION NO. 9
 1
                                     CREDIBILITY OF WITNESSES
 2

 3
            In deciding the facts in this case, you may have to decide which testimony to
 4
     believe and which testimony not to believe. You may believe everything a witness says,
 5
     or part of it, or none of it.
 6
            In considering the testimony of any witness, you may take into account:
 7          (1) the opportunity and ability of the witness to see or hear or know the things
 8   testified to;
 9          (2) the witness’s memory;
10          (3) the witness’s manner while testifying;
11          (4) the witness’s interest in the outcome of the case, if any;
12          (5) the witness’s bias or prejudice, if any;

13          (6) whether other evidence contradicted the witness’s testimony;

14          (7) the reasonableness of the witness’s testimony in light of all the evidence; and
            (8) any other factors that bear on believability.
15
            Sometimes a witness may say something that is not consistent with something else
16
     he or she said. Sometimes different witnesses will give different versions of what
17
     happened. People often forget things or make mistakes in what they remember. Also, two
18
     people may see the same event but remember it differently. You may consider these
19
     differences, but do not decide that testimony is untrue just because it differs from other
20
     testimony.
21
            However, if you decide that a witness has deliberately testified untruthfully about
22   something important, you may choose not to believe anything that witness said. On the
23   other hand, if you think the witness testified untruthfully about some things but told the
24   truth about others, you may accept the part you think is true and ignore the rest.
25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 13
            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 14 of 32




           The weight of the evidence as to a fact does not necessarily depend on the number
 1
     of witnesses who testify. What is important is how believable the witnesses were, and
 2
     how much weight you think their testimony deserves.
 3

 4

 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 14
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 15 of 32




                                  FINAL INSTRUCTION NO. 10
 1

 2                                ACTIVITIES NOT CHARGED

 3
            You are here only to determine whether the defendant is guilty or not guilty of the
 4
     charges in the indictment. The defendant is not on trial for any conduct or offense not
 5
     charged in the indictment.
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 15
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 16 of 32




                                 FINAL INSTRUCTION NO. 11
 1
                    SEPARATE CONSIDERATION OF MULTIPLE COUNTS
 2

 3
           A separate crime is charged against the defendant in each count. You must decide
 4
     each count separately. Your verdict on one count should not control your verdict on any
 5
     other count.
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 16
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 17 of 32




                                   FINAL INSTRUCTION NO. 12
 1
                              FOREIGN LANGUAGE TESTIMONY
 2

 3
            You may have heard testimony of a witness who testified in the Somali language.
 4
     Witnesses who do not speak English or are more proficient in another language testify
 5
     through an official interpreter. Although some of you may know the Somali language, it
 6
     is important that all jurors consider the same evidence. Therefore, you must accept the
 7   interpreter’s translation of the witness’s testimony. You must disregard any different
 8   meaning.
 9          You must not make any assumptions about a witness or a party based solely on the
10   fact that an interpreter was used.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 17
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 18 of 32




                           PROPOSED FINAL INSTRUCTION NO. 13
 1
                                   ON OR ABOUT – DEFINED
 2

 3
            The indictment charges that the offenses alleged in Counts 1, 2, 4 through 7, 9
 4
     through 12, and 14 through 17 were committed “on or about” a certain date.
 5
            Although it is necessary for the Government to prove beyond a reasonable doubt
 6
     that the offenses were committed on a date reasonably near the dates alleged in Counts 1,
 7   2, 4 through 7, 9 through 12, and 14 through 17 of the indictment, it is not necessary for
 8   the Government to prove that the offenses were committed precisely on the dates
 9   charged.
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 18
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 19 of 32




                                  FINAL INSTRUCTION NO. 14
 1
                                STATEMENTS BY DEFENDANT
 2

 3
            You have heard testimony that the defendant made a statement. It is for you to
 4
     decide (1) whether the defendant made the statement, and (2) if so, how much weight to
 5
     give to it. In making those decisions, you should consider all the evidence about the
 6
     statement, including the circumstances under which the defendant may have made it.
 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 19
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 20 of 32




                                  FINAL INSTRUCTION NO. 15
 1
                   OTHER CRIMES, WRONGS OR ACTS OF DEFENDANT
 2

 3
            You may have heard evidence that the defendant committed other crimes not
 4
     charged here. If so, you may consider this evidence only for its bearing, if any, on the
 5
     question of the defendant’s intent, motive, knowledge, absence of mistake and for no
 6
     other purpose. You may not consider this evidence as evidence of guilt of the crime for
 7   which the defendant is now on trial.
 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 20
            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 21 of 32




                                 FINAL INSTRUCTION NO. 16
 1
         GOVERNMENT’S USE OF UNDERCOVER AGENTS AND INFORMANTS
 2

 3
           You have heard testimony from an undercover agent who was involved in the
 4
     Government’s investigation in this case. Law enforcement officials may engage in stealth
 5
     and deception, such as the use of informants and undercover agents, in order to
 6
     investigate criminal activities. Undercover agents and informants may use false names
 7   and appearances.
 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 21
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 22 of 32




                                  FINAL INSTRUCTION NO. 17
 1
                             OPINION EVIDENCE, EXPERT WITNESS
 2

 3
            You have heard testimony from various IRS personnel who testified to opinions
 4
     and the reasons for their opinions. This opinion testimony is allowed because of the
 5
     education or experience of this witness.
 6
            Such opinion testimony should be judged like any other testimony. You may
 7   accept it or reject it, and give it as much weight as you think it deserves, considering the
 8   witness’s education and experience, the reasons given for the opinion, and all the other
 9   evidence in the case.
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 22
            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 23 of 32




                                 FINAL INSTRUCTION NO. 18
 1
                 CHARTS AND SUMMARIES ADMITTED INTO EVIDENCE
 2

 3
           Certain charts and summaries have been admitted into evidence. Charts and
 4
     summaries are only as good as the underlying supporting material. You should, therefore,
 5
     give them only such weight as you think the underlying material deserves.
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 23
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 24 of 32




                                  FINAL INSTRUCTION NO. 19
 1
                    AIDING OR ADVISING FALSE INCOME TAX RETURN
 2

 3
            The defendant is charged in Counts 1, 2, 4 through 7, 9 through 12, and 14 through
 4
     17 of the indictment with aiding, assisting, advising, or counseling the preparation of a
 5
     false income tax return in violation of Section 7206(2) of Title 26 of the United States
 6
     Code. In order for the defendant to be found guilty of that charge, the Government must
 7
     prove each of the following elements beyond a reasonable doubt:
 8
            First, the defendant aided, assisted, advised, procured or counseled in the
 9
     preparation or presentation of an income tax return that was false or fraudulent;
10          Second, the income tax return was false or fraudulent as to any material matter
11   necessary to a determination of whether income tax was owed;
12          Third, the defendant acted willfully; and
13          Fourth, the tax return was filed with the Internal Revenue Service.
14          The Government is not required to prove that the taxpayer knew that the return
15   was false.
16          A matter is material if it had a natural tendency to influence, or was capable of

17   influencing, the decisions or activities of the Internal Revenue Service.

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 24
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 25 of 32




                                  FINAL INSTRUCTION NO. 20
 1
                                    WILLFULLY – DEFINED
 2

 3
            In order to prove that the defendant acted “willfully,” the Government must prove
 4
     beyond a reasonable doubt that the defendant knew federal tax law imposed a duty on
 5
     him, and the defendant intentionally and voluntarily violated that duty.
 6
            A defendant who acts on a good faith misunderstanding as to the requirements of
 7   the law does not act willfully even if his understanding of the law is wrong or
 8   unreasonable. Nevertheless, merely disagreeing with the law does not constitute a good
 9   faith misunderstanding of the law because all persons have a duty to obey the law
10   whether or not they agree with it. Thus, in order to prove that the defendant acted
11   willfully, the Government must prove beyond a reasonable doubt that the defendant did
12   not have a good faith belief that he was complying with the law.

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 25
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 26 of 32




                                  FINAL INSTRUCTION NO. 21
 1
                                        DUTY TO DELIBERATE
 2

 3
            When you begin your deliberations, elect one member of the jury as your
 4
     foreperson who will preside over the deliberations and speak for you here in court.
 5
            You will then discuss the case with your fellow jurors to reach agreement if you
 6
     can do so. Your verdict, whether guilty or not guilty, must be unanimous.
 7          Each of you must decide the case for yourself, but you should do so only after you
 8   have considered all the evidence, discussed it fully with the other jurors, and listened to
 9   the views of your fellow jurors.
10          Do not be afraid to change your opinion if the discussion persuades you that you
11   should. But do not come to a decision simply because other jurors think it is right.
12          It is important that you attempt to reach a unanimous verdict but, of course, only if

13   each of you can do so after having made your own conscientious decision. Do not change

14   an honest belief about the weight and effect of the evidence simply to reach a verdict.
            Perform these duties fairly and impartially. Do not allow personal likes or dislikes,
15
     sympathy, prejudice, fear, or public opinion to influence you. You should also not be
16
     influenced by any person’s race, color, religion, national ancestry, gender, sexual
17
     orientation, profession, occupation, celebrity, economic circumstances, or position in life
18
     or in the community.
19
            It is your duty as jurors to consult with one another and to deliberate with one
20
     another with a view towards reaching an agreement if you can do so. During your
21
     deliberations, you should not hesitate to reexamine your own views and change your
22   opinion if you become persuaded that it is wrong.
23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 26
            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 27 of 32




                                 FINAL INSTRUCTION NO. 22
 1
                               CONSIDERATION OF EVIDENCE
 2

 3

 4          Because you must base your verdict only on the evidence received in the case

 5   and on these instructions, I remind you that you must not be exposed to any other

 6   information about the case or to the issues it involves. Except for discussing the case

 7   with your fellow jurors during your deliberations:

 8                Do not communicate with anyone in any way and do not let anyone else

 9          communicate with you in any way about the merits of the case or anything to

10          do with it. This restriction includes discussing the case in person, in writing, by

11          phone or electronic means, via email, text messaging, or any Internet chat

12          room, blog, website or any other forms of social media. This restriction applies

13          to communicating with your family members, your employer, the media or

14          press, and the people involved in the trial. If you are asked or approached in

15          any way about your jury service or anything about this case, you must respond

16          that you have been ordered not to discuss the matter and to report the contact

17          to the court.

18                 Do not read, watch, or listen to any news or media accounts or

19          commentary about the case or anything to do with it; do not do any research,

20          such as consulting dictionaries, searching the Internet or using other reference

21          materials; and do not make any investigation or in any other way try to learn

22          about the case on your own.

23          The law requires these restrictions to ensure the parties have a fair trial based on

24   the same evidence that each party has had an opportunity to address. A juror who

25   violates these restrictions jeopardizes the fairness of these proceedings, and a mistrial

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 27
            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 28 of 32




 1   could result that would require the entire trial process to start over. If any juror is
 2   exposed to any outside information, please notify the court immediately.
 3

 4

 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 28
            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 29 of 32




                                FINAL INSTRUCTION NO. 23
 1
                                         USE OF NOTES
 2

 3
           Some of you have taken notes during the trial. Whether or not you took notes, you
 4
     should rely on your own memory of what was said. Notes are only to assist your memory.
 5
     You should not be overly influenced by your notes or those of your fellow jurors.
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 29
            Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 30 of 32




                                FINAL INSTRUCTION NO. 24
 1
                         JURY CONSIDERATION OF PUNISHMENT
 2

 3
           The punishment provided by law for this crime is for the Court to decide. You
 4
     may not consider punishment in deciding whether the Government has proved its case
 5
     against the defendant beyond a reasonable doubt.
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 30
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 31 of 32




                                  FINAL INSTRUCTION NO. 25
 1
                                          VERDICT FORM
 2

 3
            A verdict form has been prepared for you. After you have reached unanimous
 4
     agreement on a verdict, your foreperson should complete the verdict form according to
 5
     your deliberations, sign and date it, and advise the Court that you are ready to return to
 6
     the courtroom.
 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 31
             Case 2:19-cr-00072-JCC Document 80 Filed 09/22/21 Page 32 of 32




                                  FINAL INSTRUCTION NO. 26
 1
                               COMMUNICATION WITH COURT
 2

 3
            If it becomes necessary during your deliberations to communicate with me, you
 4
     may send a note through the clerk, signed by any one or more of you. No member of the
 5
     jury should ever attempt to communicate with me except by a signed writing, and I will
 6
     respond to the jury concerning the case only in writing or here in open court. If you send
 7   out a question, I will consult with the lawyers before answering it, which may take some
 8   time. You may continue your deliberations while waiting for the answer to any question.
 9   Remember that you are not to tell anyone—including me—how the jury stands,
10   numerically or otherwise, on any question submitted to you, including the question of the
11   guilt of the defendant, until after you have reached a unanimous verdict or have been
12   discharged.

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     JURY INSTRUCTIONS
     CR19-0072-JCC
     PAGE - 32
